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                                                                                       United States Bankruptcy Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                                                                                          December 21, 2022
                                                                                           Nathan Ochsner, Clerk
                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION

IN RE:                                             §
                                                   §         CASE NO: 21-60025
ARTHUR JACOB BRASS,                                §
                                                   §         CHAPTER 7
          Debtor.                                  §
                                                   §
VITOL, INC.,                                       §
                                                   §
          Plaintiff,                               §
                                                   §
v.                                                 §         ADVERSARY NO. 21-06006
                                                   §
ARTHUR JACOB BRASS,                                §
                                                   §
          Defendant.                               §


                                 JUDGMENT AND ORDER1
                                   (RE: DOCKET NO. 10)

      Vitol, Inc. filed a complaint to determine the dischargeability of a $10 million
debt against Arthur Brass under Sections 523(a)(2)(A), (a)(4), and (a)(6) of the
Bankruptcy Code. Based on the evidence and applicable law, $3,769,093.52 is
nondischargeable under Section 523(a)(2)(A) and Section 523(a)(6).




1 If any findings of fact in this Judgment and Order may be treated as conclusions of law, they are

also deemed conclusions of law. If conclusions of law may be treated as findings of fact, they are also
deemed findings of fact.
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                                              Background

       Before this case started, Brass was the president of Gulf Coast Asphalt
Company (“GCAC”).2 GCAC marketed and traded asphalt for sale to third parties.
GCAC was owned equally between Brass’s mother and Trifinery, Inc.3 Brass owned
Trifinery, thus giving him a 50% beneficiary interest in GCAC. 4

       Vitol is a Houston based energy and commodities company that ships and
trades crude oil and related products in the United States.5 Vitol is one of many
entities under the umbrella of what is referred to here as the Vitol Group.6 Around
November 2016, Vitol was looking for a business partner in the finished asphalt
market.7 So it began discussions with GCAC about starting a joint venture to buy
and sell asphalt through a jointly owned entity. This was good news for GCAC
because it was also looking for a new business partner during this time.8

       Brass, on behalf of GCAC, and Eric Kuo (a fuel trader), on behalf of Vitol,
worked on the potential joint venture deal. Despite months of negotiating and drafts
reviewed by lawyers, the parties never finalized and executed a joint venture
agreement.9 Around July/August 2017, representatives of the Vitol Group informed
Kuo and other Vitol employees about a potential conflict. A member of the Vitol
Group called VALT (Vitol Asphalt Limited Trading) was already party to an
agreement with a third party that contained a global noncompete clause about the
sale of asphalt.10 A Vitol/GCAC joint venture could potentially breach the VALT
noncompete.




2   Sept. 16 Trial Tr., Adv. No. 21-06006, Docket No. 161, 176:2–8.
3   Id., 185:11–186:1.
4   Id., 186:2–3.
5   Sept. 1 Trial Tr., Adv. No. 21-06006, Docket No. 148, 8:18–9:23.
6   Id., 9:15-23; 38:10–11.
7   Sept. 7 Trial Tr., Adv. No. 21-06006, Docket No. 145, 35:6–7.
8GCAC was a joint venture partner with a commodities firm that wanted to exit the joint venture.
Sept. 16 Trial Tr., 186:15–187:10.
9   Sept. 7 Trial Tr., 47:18–21; 192:11–18.
10Id.,   48:13–49:5.
                                                    2
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       Representatives of Vitol contemplated several options to continue a business
relationship with GCAC and Brass.11 But ultimately the Vitol/GCAC joint venture
discussions stopped.12 This was bad news for GCAC because at the beginning of
August it had a negative $55,853.13 balance in its operating account, no cash in its
payroll account, and $3,207.11 in its sales account.13 Brass also had very little
personal cash during this time.14

       Ultimately, rather than pursuing a joint venture deal, Vitol agreed to serve
as a financing partner for GCAC.15 Kuo and Brass exchanged bullet points about a
potential financing structure and spoke about repayment terms.16 Vitol and GCAC
never executed a formal written contract to memorialize their agreement. Brass
believes that the parties operated under an informal joint venture. But that’s not
accurate. Rather, the evidence demonstrated that the parties generally operated
under the following financing arrangement:
           1. GCAC would inform Vitol about a deal with a third party;
           2. Vitol would purchase product and title it in its own name;
           3. Vitol, through Kuo, would hedge the deal;17
           4. Vitol would “sell” the product to GCAC (GCAC did not have cash to buy
              product. So Vitol effectively loaned/financed GCAC the purchase price for
              the product.);
           5. GCAC would sell the product to the third party;
           6. GCAC would receive the sale proceeds, and then was supposed to repay
              Vitol18 for—well Vitol and Brass/GCAC disagree on this point.

       Vitol believes GCAC had to repay sale proceeds, any losses on hedges, and
deal related storage and transportation expenses.19 Kuo and Brass spoke about
these financing terms. Kuo also believes that Brass assured him GCAC would pay
Vitol according to these terms.20 Brass disagrees.

11Id.,   226:3–15; Vitol Ex. 14.
12   Sept. 7 Trial Tr., 50:4–12.
13   Vitol Ex. 124, at Bates Nos. Debtor000303, Debtor000505, and Debtor000054.
14Vitol Ex. 75, at Bates No. IBC_0002044 (showing Brass had about $1,800 in his personal account
at the beginning of August 2017).
15   Sept. 7 Trial Tr., 58:25–59:1.
16   Vitol Ex. 14; Sept. 7 Trial Tr., 64:25–65:2.
17   Vitol was responsible for all hedges and carried them on its books. Sept. 16 Trial Tr., 151:12–15.
18   Vitol Exs. 12, 18, 19–23; Sept. 7 Trial Tr., 58:25–59:8.
19   Sept. 7 Trial Tr., 69:22–70:6.
20   Id., 64:25–65:12; 70:19–25.
                                                      3
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       Vitol eventually informed Brass and GCAC that it would only finance deals
through the end of 2017.21 GCAC repaid some outstanding debt between August
2017 and January 2018. In fact, GCAC made five payments to Vitol or for Vitol’s
benefit totaling $18,431,603.48 during this time.22 Vitol provided GCAC and Brass
an accounting reconciliation in early 2018 showing that GCAC owed Vitol about $15
million.23 The reconciliation listed about $3.7 million for unremitted sales proceeds,
about $6.2 million for losses on Vitol hedges, and the remainder for transportation
and related expenses.24 More importantly, Kuo testified that GCAC owed Vitol
about $15 million, consisting of around $3.5 million for unpaid product, between $5-
$8 million for hedging losses, and the rest for deal related expenses.25 GCAC’s
records also listed an approximately $14.9 million contingent debt to Vitol on its
financial statements and 2017 tax return.26

       GCAC ultimately could not repay Vitol because Brass was secretly
transferring cash out of GCAC.27 Brass controlled GCAC’s spending.28 If Brass
wanted cash from GCAC there was no internal control or authorization required. He
believed he could take cash from GCAC for any reason.29 Brass regularly
transferred cash out of GCAC for his direct personal benefit through undocumented
loans from GCAC.30 Sometimes he reimbursed GCAC for loans.31 But starting
around August 2017—when GCAC started receiving proceeds of the financing
arrangement with Vitol—Brass started siphoning an alarming amount of cash out
of GCAC for his personal benefit.32 He was spending cash on, among other things, a



21   Id., 72:6–12.
 Vitol Ex. 124, at Bates Nos. Debtor000060 ($1,690,065.00), Debtor000066 ($107,137.23),
22

Debtor000078 ($4,000,000.00), Debtor000088 ($3,700,000.00), and Debtor000102 ($8,934,401.25).
23   Sept. 7 Trial Tr., 110:17–22; 115:15–21; 116:17–25; Vitol Ex. 54.
24   Vitol Ex. 54.
25   Sept. 16 Trial Tr., 157:16–19; 160:17–165:4.
26See, e.g., Vitol Exs. 81-174, at 8; 81-181 (GCAC Dec. 2017 and 2018 Consolidated Income
Statements); 100, at 42 (2017 tax return).
27   See, e.g., Vitol Ex. 124, at Bates Nos. Debtor000108–Debtor000176.
28   Sept. 16 Trial Tr., 183:19–185:10.
29   Id., 185:3–10.
30 See, e.g., Vitol Ex. 124, at Bates Nos. Debtor000021, Debtor000052, Debtor000060, Debtor000075
(transfers to Arthur Brass); Debtor000069, Debtor000087, Debtor000101 (transfers to Joyce Brass).
31   See, e.g., id., at Bates No. Debtor000031.
32   Id., at Bates Nos. Debtor000052–Debtor000053; Debtor000068–Debtor000079.
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multi-million dollar second home33 and expensive jewelry.34 Brass transferred about
$6 million from GCAC between July 2017 through December 2018, and about $1
million in 2019.35

       Brass and Kuo regularly communicated about the debt repayment. But
around March/April 2018 Kuo realized Brass and GCAC were not repaying Vitol.36
In May 2018, while Brass kept transferring cash,37 GCAC went on the offensive by
starting a lawsuit against Vitol in Harris County District Court.38 Vitol
counterclaimed and added third-party claims against Brass and Trifinery.39 Vitol
alleged, among other things, that Brass fraudulently stole about $15 million
financed to GCAC.40 The parties eventually settled before trial by entering into a
Second Confidential Settlement Agreement and Mutual Global Release.41 The
Settlement Agreement provided that Brass, GCAC, and Trifinery were jointly and
severally liable to Vitol for $10 million.42 The Settlement Agreement included an
Agreed Final Judgment for $10 million, which was later approved by the state court
in November 2020.43

       No party ever paid Vitol. Instead, Brass filed a voluntary chapter 7 case in
March 2021. GCAC and Trifinery also started separate chapter 7 cases in this
District.44 In July 2021, Vitol filed a complaint to determine the dischargeability of


33   Id., at Bates No. Debtor000054; Sept. 16 Trial Tr., 224:11–226:7.
34Vitol Exs. 124, at Bates Nos. Debtor000088–Debtor000089; 75, at Bates No. IBC_0000061 (Dec.
2017 payment to jeweler for $665,105.85); Sept. 22 Trial Tr., Adv. No. 21-06006, Docket No. 165,
63:8–64:1.
35Vitol Exs. 81-174; 81-181; 124 at Bates Nos. Debtor000419, Debtor000423, Debtor000198–
Debtor000200, Debtor000207–Debtor000212, Debtor000215–Debtor000219, and Debtor000223. In
2019, at least $100,000 was also transferred to Brass’s mother, Joyce, as well as $110,000 to his
sister, Sandra.
36   See Brass Ex. 23, at 44–60.
37   Vitol Ex. 124, at Bates Nos. Debtor000136–Debtor000139.
38Vitol’s First Am. Compl., Adv. No. 21-06006, Docket No. 10; Brass’s Am. Answer, Adv. No. 21-
06006, Docket No. 27.
39   Vitol Ex. 86.
40   Id., at 4–5.
41   Joint Pre Trial Statement, Adv. No. 21-06006, Docket No. 106, at 8.
42   Id.
43   Vitol Ex. 89.
 In re Gulf Coast Asphalt Co., LLC, Case No. 21-60024, Bankr. S.D. Tex.; In re Trifinery, Inc., Case
44

No. 21-60023, Bankr. S.D. Tex.
                                                     5
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debt and a first amended complaint in October 2021.45 Vitol reiterated its state
court allegations that Brass took money Vitol financed to GCAC and used it for
personal purposes.46 Vitol also alleged that Brass never paid—and never intended
to pay—the settlement amount and requested an order stating that the $10 million
debt is nondischargeable under Sections 523(a)(2)(A), (a)(4), and (a)(6) of the
Bankruptcy Code.47 Brass moved for summary judgment on each of Vitol’s claims.48
The Court granted summary judgment on Vitol’s claim under Section 523(a)(4)
(fraud while acting in a fiduciary capacity) and denied summary judgment on the
remaining claims.49 The parties then held a multi-day trial that included testimony
from Miguel Loya (former Vitol CEO), Eric Kuo (Vitol fuel trader), Gene L. Deetz
(valuation expert), and Brass.

                                            Jurisdiction

       This is a core proceeding under 28 U.S.C. § 157(b)(2)(I). The Court has
jurisdiction under 28 U.S.C. § 1334. The parties’ express and implied consent also
provides this Court constitutional authority to enter a final judgment under
Wellness Int’l Network, Ltd. v. Sharif, 575 U.S. 665, 678–83 (2015) and Kingdom
Fresh Produce, Inc. v. Stokes Law Off., L.L.P. (In re Delta Produce, L.P.), 845 F.3d
609, 617 (5th Cir. 2016).

                Nondischargeability under Sections 523(a)(2)(A), (4), (6)

      Section 523(a) of the Bankruptcy Code excepts certain debts from discharge
against an individual debtor. A creditor must prove nondischargeability of a debt by
a preponderance of the evidence. See Grogan v. Garner, 498 U.S. 279, 286–87
(1991).

Section 523(a)(2)(A)

      A debt is nondischargeable under Section 523(a)(2)(A) if it is for money
obtained by “false pretenses, a false representation, or actual fraud.” False
pretenses, false representation, and actual fraud are common law terms and require
separate proof requirements. See AT&T Universal Card Servs. v. Mercer (In re
Mercer), 246 F.3d 391, 403 (5th Cir. 2001). Vitol argues the $10 million debt is

45   Adv. No. 21-06006, Docket Nos. 1 and 10 (Vitol’s Original and First. Am. Compl.).
46   Vitol’s First Am. Compl., ¶¶ 6–11.
47   Id., ¶¶ 14–15, 22–38.
48   Mot. Summ. J., Adv. No. 21-06006, Docket No. 58.
49   Summ. J. Order, Adv. No. 21-06006, Docket No. 79.
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nondischargeable based on false representations and actual fraud. The Court finds
that there is not sufficient proof of false representations, but there is actual fraud.

                                      A.   False Representations

      To prove a false representation, a debtor must have made (1) a knowing and
fraudulent falsehood, (2) describing past or current facts, that is (3) relied on by the
other party. See Jacobson v. Ormsby (In re Jacobson), No. 06-51460, 2007 WL
2141961, at *2 (5th Cir. 2007). “‘A misrepresentation is fraudulent if the maker ...
knows or believes ... the matter is not as’ represented, or ‘does not have the
confidence in the accuracy of his representation’ as stated or implied, or ‘knows ...
he does not have the basis for his representation’ as stated or implied.” Mercer, 246
F.3d at 407 (citation omitted). A debtor’s promise about a future action may satisfy
Section 523(a)(2)(A) if, at the time of the representation, the creditor can show that
the debtor had no intention to fulfill it. See e.g., Allison v. Roberts (In re Allison),
960 F.2d 481, 484 (5th Cir. 1992). Finally, the reliance standard for false
representations is “justifiable reliance.” See Field v. Mans, 516 U.S. 59, 77 (1995).

       Vitol claims the $10 million debt represents money obtained from Vitol
through its reliance on Brass’s false representations to Vitol that proceeds of
asphalt sales received by GCAC would be remitted directly to Vitol. Vitol claims
that Brass had no intention of complying due to GCAC’s insolvency and Brass’s
history of transferring money held in GCAC accounts to himself and his mother.
And that Vitol justifiably relied on the false representations. While it is true that
GCAC received sales proceeds from the Vitol/GCAC financing arrangement and
that Brass transferred millions out of GCAC, there is insufficient evidence that
Brass made false representations to warrant nondischargeability of debt.

       There is an email where Brass outlines thoughts on the terms of interim
financing deals50 and Kuo’s testimony about speaking to Brass about repayment
terms.51 But none of this is firm evidence of Brass making false representations
about repayment at the time of the financing deals. It is also unclear whether any
such representations would have been made on behalf of GCAC or Brass
individually.




50   Vitol Ex. 14.
51   Sept. 7 Trial Tr., 58:25–59:8.
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       There are also emails detailing actual financing deals where Vitol purchased
product that GCAC could sell to a third party.52 But those emails show
representations between Vitol employees and GCAC employees. Brass is copied on
some emails but Patrick Perugini from GCAC is usually the main business
contact.53 And Vitol overlooks that GCAC paid Vitol millions of dollars between July
and December 2017, including about $8.9 million in January 2018.54 Thus, there is
insufficient evidence that, at the time of the financing deals, Brass made false
representations that he had no intention of making GCAC pay its bills.

                                         B.      Actual Fraud

       Vitol also claims that Brass committed actual fraud under Section
523(a)(2)(A). Vitol seeks to prove actual fraud by establishing several badges of
fraud under the Texas Uniform Fraudulent Transfer Act (“TUFTA”). The obvious
issue is that Vitol conducted business with GCAC, not Brass individually, and the
proceeds of the Vitol/GCAC financing arrangement were deposited in GCAC’s bank
account, not Brass’s. But in Husky Int’l Electronics, Inc. v. Ritz (In re Ritz), the
Supreme Court held that claims like Vitol asserts here are permissible:

                  It is of course true that the transferor does not “obtai[n]”
                  debts in a fraudulent conveyance. But the recipient of the
                  transfer—who, with the requisite intent, also commits
                  fraud—can “obtai[n]” assets “by” his or her participation in
                  the fraud . . . If that recipient later files for bankruptcy, any
                  debts “traceable to” the fraudulent conveyance will be
                  nondischargeable under § 523(a)(2)(A).

578 U.S. 356, 365 (2016).

      The Supreme Court remanded Ritz to the Fifth Circuit. On remand, the Fifth
Circuit confirmed that establishing actual fraud under TUFTA may establish fraud
under Section 523(a)(2)(A) and that actual fraud may satisfy a veil piercing claim:

                   [E]stablishing that a transfer is fraudulent under the
                  actual fraud prong of TUFTA is sufficient to satisfy the
                  actual fraud requirement of veil-piercing because a
                  transfer that is made “with the actual intent to hinder,


52   Vitol Exs. 12, 18, 19–23.
53   Id.
54   See, e.g., Vitol Ex. 124 at Bates No. Debtor000102 ($8.93 million payment to Vitol in Jan. 2018).
                                                     8
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               delay, or defraud any creditor,” . . . necessarily “involves
               dishonesty of purpose or intent to deceive.”

Husky Int’l Electronics, Inc. v. Ritz (In re Ritz), 832 F.3d 560, 567 (5th Cir. 2016)
(internal quotation marks and footnote omitted).

       The Fifth Circuit also held in Ritz that a debt could be nondischargeable
under Section 523(a)(2)(A) if actual fraud is established under TUFTA and the
actual fraud was for the individual debtor’s direct personal benefit. Id. at 569. This
case resembles the facts in Ritz because the individual who allegedly caused and
benefitted from the actual fraud filed a bankruptcy case. Thus, under binding
precedent, a debt is nondischargeable here if Vitol proves actual fraudulent
transfers between GCAC and Brass under TUFTA, and that Brass used these funds
for his direct personal benefit.55

      Direct evidence of actual fraud is often difficult to establish. So TUFTA
includes 11 badges of fraud:

       1. the transfer was to an insider;
       2. the debtor retained possession or control of the property transferred after
           the transfer;
       3. the transfer or obligation was concealed;
       4. before the transfer was made or obligation was incurred, the debtor had
           been sued or threatened with suit;
       5. the transfer was of substantially all the debtor’s assets;
       6. the debtor absconded;
       7. the debtor removed or concealed assets;
       8. the value of the consideration received by the debtor was reasonably
           equivalent to the value of the asset transferred or the amount of the
           obligation incurred;
       9. the debtor was insolvent or became insolvent shortly after the transfer
           was made or the obligation was incurred;
       10. the transfer occurred shortly before or shortly after a substantial debt was
           incurred; and
       11. the debtor transferred the essential assets of the business to a lienor who
           transferred the assets to an insider of the debtor.

TEX. BUS. & COM. CODE § 24.005(b).


55Vitol uses TUFTA to establish a nondischargeable prepetition debt. This is not a TUFTA action
seeking to avoid transfers and a return of funds to the GCAC estate. So there is no concern here
about whether Vitol is asserting a cause of action held by GCAC’s chapter 7 trustee.
                                                 9
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      Vitol doesn’t need to prove all or even a majority of the badges of fraud to
succeed. Soza v. Hill (In re Soza), 542 F.3d 1060, 1067 (5th Cir. 2008); see
also Roland v. United States, 838 F.2d 1400, 1402–03 (5th Cir. 1988) (interpreting
TUFTA and finding “several” badges to be sufficient to find fraudulent intent).

          There are several badges of fraud present here.

       First, Brass was the president of GCAC, so he was an insider during the
relevant time.56 Brass also controlled GCAC’s spending.57 The evidence shows that
he transferred about $6 million from GCAC between July 2017 and December
2018—the overwhelming majority for his direct personal benefit and also to benefit
his mother (another GCAC insider).58 The transfers were booked on GCAC’s books
and records as a purported loan to Brass, but even he recognized they could just be
amounts credited to him.59 He appears to have repaid some of these “loans” in the
past. From January to May 2017, for example, GCAC’s bank statements show a
pattern of Brass transferring funds into his personal account, but later transferring
funds back into GCAC’s account:60

       But when GCAC started receiving funds from the financing arrangement
around August 2017, Brass sped up the rate of transfers from GCAC to his personal
account for his personal benefit. He even caused GCAC to transfer money to his
mother. These transfers occurred on a weekly, sometimes even daily, basis.61 And,
at the same time, he essentially stopped repaying GCAC.

       Brass had about $1,800 in his personal bank account then, so the transfers
definitely helped him continue a very good lifestyle.62 Sometimes Brass transferred
cash around the same time large sums of money from Vitol/GCAC financing deals
were deposited into GCAC’s bank account. For example, one week after GCAC
received over $1.5 million from a deal in August 2017, Brass transferred
$582,737.02 from GCAC’s bank account to a company contracted to build his second

56   Sept. 16 Trial Tr., 176:2–8.
57   Id., 183:19–185:10.
 Brass’s transfers may also properly be considered in the aggregate as part of a scheme to divest
58

GCAC of property.
59Sept. 16 Trial Tr., 198:14–199:9; 199:16–18 (“GCAC is controlled by me. Sometimes GCAC would
collect money back from due-to and due-from accounts. Sometimes it wouldn’t. That’s all I can tell
you”).
60   Vitol Ex. 124, at Bates Nos. Debtor000005–Debtor000035.
61   See, e.g., id., at Bates Nos. Debtor000068–Debtor000089.
62   Vitol Ex. 75, at Bates No. IBC_0002044 (Brass’s personal account balance as of August 3, 2017).
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home in a prestigious Houston area neighborhood.63 Then, in December 2017, the
same day GCAC received over $2 million from another Vitol related deal, Brass
transferred $675,000 to his personal account.64 Brass’s personal bank records show
that on the same day, Brass wrote a check to a well-known fine jewelry retailer for
about $665,000.65

       Starting around February 2018, when it became clear the business
relationship between the parties ended (and Vitol was repeatedly asking about a
final payment from GCAC), Brass consistently caused GCAC to transfer cash to
him—and sometimes his mother—at an alarming rate. GCAC’s June 2017 balance
sheet shows a “due from” shareholder loan balance of $86,696.66 Between July 1,
2017 and December 31, 2017, that amount increased to $2,998,569.67 From January
1, 2018 to December 2018, it skyrocketed to $6,246,338.68 Thus, Brass transferred
over $6 million out of GCAC in just 1.5 years. There is no evidence of Brass
repaying GCAC even 1% of these amounts withdrawn.

        Second, the transfers were for substantially all of GCAC’s assets. As
explained in the insolvency discussion below, Brass’s transfer campaign against
GCAC left the company with virtually no cash, undercapitalized, and unable to pay
its bills in the ordinary course of business.

       Third, transfers were made while litigation was pending against GCAC and
Brass. Brass and GCAC were sued in state court by Superior Crude Gathering, Inc.
in February 2017 for, among other things, fraud related to nonpayment of about
$1.8 million.69 And in May 2018, Vitol countersued Brass and GCAC in state court
for fraud.70

      Fourth, GCAC did not receive reasonable consideration for the millions
transferred to Brass.




63   Vitol Ex. 124, at Bates Nos. Debtor000051 and Debtor000054; Sept. 16 Trial Tr., 224:11–226:7.
64   Vitol Ex. 124, at Bates Nos. Debtor000084 and Debtor000089.
65   Vitol Ex. 75, at Bates No. IBC_0000061.
66   Vitol Ex. 81-174, at 7.
67   Id., at 8.
68   Vitol Ex. 81-181.
69   Vitol Ex. 83.
70   Vitol Ex. 86.
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       And finally, GCAC was insolvent at the time of the transfers and soon after.
By December 2017, GCAC had negative $10 million income and continued to have
negative income through 2018.71 And GCAC’s 2017 and 2018 balance sheets showed
an approximately $14.9 million outstanding contingent liability owed to Vitol.72
Vitol’s expert Gene Deetz analyzed GCAC’s solvency as of June 30, 2017, as of
December 31, 2017, and as of January 2018.73 He performed a solvency analysis
using three tests: the balance sheet test, the capital adequacy test, and the cash
flow test.74 Deetz’s testimony and conclusions about GCAC’s solvency were very
thoughtful, detailed, and credible. He provided convincing evidence that GCAC was
insolvent on all three target dates.75

       The balance sheet test examines whether a company’s assets at a full and fair
valuation exceeds the company’s liabilities.76 Deetz provided convincing evidence
that GCAC was balance sheet insolvent on the target dates. GCAC’s books and
records showed equity in 2017 and 2018.77 The book equity included about $6.6
million for investments or loans in three affiliated entities: GCAC Holdings, Gulf
Coast Crude, and AG Bullet.78 But between January and December 2017 these
entities had little to no assets, no revenues, and negative income before taxes.79
Thus, Deetz concluded that these amounts should be written off, making GCAC
insolvent. The Court also agrees with Deetz’s additional adjustments further
deepening GCAC’s insolvency.

       Deetz also provided convincing evidence that GCAC was inadequately
capitalized. The capital adequacy test analyzes a company’s cushion to address the
normal ebbs and flows of a business through a normal cycle.80 He demonstrated
that GCAC operated with negative working capital. Thus, GCAC was forced to use



71   Vitol Exs. 81-175, at 14; 81-190, at 2.
72   Vitol Exs. 81-174, at 8; 81-181.
73   Sept. 28 Trial Tr., Adv. No. 21-06006, Docket No. 200, 57:3–8.
74Id., 55:11-23. The capital adequacy test and the cash flow test are also used in constructive
fraudulent transfer actions under TUFTA.
75Deetz also provided convincing testimony that GCAC was insolvent on a consolidated basis with
other GCAC non-debtor related entities.
76   Sept. 28 Trial Tr., 56:1–10.
77   Vitol Exs. 81-174; 81-181; Sept. 28 Trial Tr., 77:1–5.
78   Sept. 28 Trial Tr., 71:4–16.
79   Id., 71:4–77:18; 83:7–14.
80   Id., 56:13–15.
                                                     12
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the sale proceeds of the Vitol/GCAC financing arrangement for capital.81 But, as
discussed above, Brass was transferring millions from GCAC to himself. GCAC was
inadequately capitalized even booking Brass’s transfers as loans on the books.

      GCAC also failed the cash flow test, meaning that it could not pay its debts
as they matured.82 While GCAC received millions between August and December
2017 from the sales proceeds of the Vitol/GCAC financing arrangement, Brass was
causing GCAC to transfer millions to himself. GCAC did not have another source of
income to offset Brass’s transfers.83

      Thus, there is sufficient evidence that Brass committed actual fraud under
Section 523(a)(2)(A).

Section 523(a)(6)

       Section 523(a)(6) disallows dischargeability of a debt “for willful and
malicious injury by the debtor to another entity.” This section generally relates to
intentional torts. Thus, there must be “a deliberate or intentional injury, not merely
a deliberate or intentional act that leads to injury.” See Kawaauhau v. Geiger, 523
U.S. 57, 61 (1998).

       A willful and malicious injury requires a showing of either: (1) an objective
substantial certainty of injury or (2) a subjective motive to cause harm on the part
of the debtor. Miller v. J.D. Abrams Inc. (In re Miller), 156 F.3d 598, 606 (5th Cir.
1998). “Because debtors generally deny that they had a subjective motive to cause
harm, most cases that hold debts to be nondischargeable do so by determining
whether ‘[the debtor’s] actions were at least substantially certain to result in
injury.’” Berry v. Vollbracht (In re Vollbracht), 276 F. App’x. 360, 361–62 (5th Cir.
2007). And besides satisfying one prong under this test, the Fifth Circuit has also
held that the injury must “not be sufficiently justified under the circumstances to
render it not ‘willful and malicious.’” Id.

      In Ritz, the Supreme Court stated that “[T]he debtors who commit fraudulent
conveyances and the debtors who make false representations under §
523(a)(2)(A) could likewise also inflict ‘willful and malicious injury’ under §
523(a)(6). There is, in short, overlap, but that overlap appears inevitable.” Ritz, 578
U.S. at 363. That is the case here.


81   Id., 83:18–84:1; 89:13–19; 90:4–9.
82   Id., 90:10–17.
83   See id., 91:1–21.
                                          13
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       This Court incorporates its findings in the Section 523(a)(2)(A) actual fraud
section here. Around the time Brass learned that Vitol would not finalize a joint
venture with GCAC, he transferred over $6 million of sales proceeds from the
Vitol/GCAC financing arrangement for his personal benefit and an additional $1
million in 2019 while the parties were litigating in state court.84 Text messages
between Kuo and Brass confirm that Brass knew Vitol was owed significant funds.85
Brass also admitted in trial that the transferred funds could have been used to
repay Vitol.86

       Brass had little to no cash when the financing arrangement started in
July/August 2017. And when it was clear Vitol was no longer financing GCAC
deals—thus ending his personal source of cash to spend on second homes and other
lavish items—Brass stopped repaying Vitol but kept siphoning cash from GCAC.
Brass was the president of GCAC and controlled its spending. Brass knew that the
joint venture discussions and the financing arrangement were over, which meant
there would be no additional financing for Vitol to fund his desired lifestyle through
GCAC. Yet he continued to cause GCAC to move funds from its account to his
personal account anyway.

       The Court finds that Brass’s actions amount to more than recklessness or bad
management. Brass’s actions were substantially certain to harm Vitol. And these
actions were not sufficiently justifiable under the circumstances to render it not
willful and malicious. In fact, the evidentiary record revealed Brass’s actions were
not justified at all. Thus, Brass caused a willful and malicious injury to Vitol under
Section 523(a)(6).

Section 523(a)(4)

       Section 523(a)(4) excepts from discharge debts “for fraud or defalcation while
acting in a fiduciary capacity, embezzlement, or larceny.” This Court granted
summary judgment for Brass on Vitol’s nondischargeability claim based on fraud
while acting in a fiduciary capacity.87 So Vitol’s remaining potential claim under

84 Vitol Ex. 124, at Bates Nos. Debtor000419, Debtor000423, Debtor000198–Debtor000200,

Debtor000207–Debtor000212, Debtor000215–219, and Debtor000223.
85   See Brass Ex. 23, at 44–60.
86   See, e.g., Sept. 22 Trial Tr., 56:5–8.
“Q: Sure. If that $6.2 million hadn’t been distributed to GCAC’s shareholders, it could have been
used by GCAC for other business purposes, right?
A: I guess that’s true.”
87   See Summ. J. Order.
                                                 14
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Section 523(a)(4) is embezzlement. Embezzlement for the purpose of Section
523(a)(4) is “the fraudulent appropriation of property by a person to whom such
property has been entrusted, or into whose hands it has lawfully come.” Miller, 156
F.3d at 602 (citations omitted); NextGear Cap., Inc. v. Rifai (In re Rifai), 604 B.R.
277, 325 (Bankr. S.D. Tex. 2019).

      Vitol argues that the debt is nondischargeable under Section 523(a)(4)
because it arose from Brass’s embezzlement of funds entrusted to his care.
According to Vitol, cash proceeds GCAC received from the financing deals were
earmarked for Vitol. Therefore, Brass embezzled these funds when he transferred
them to his personal account rather than remit them to Vitol.

       There is no embezzlement here because the financing deals were set between
Vitol and GCAC employees.88 And cash proceeds derived from the deals were
deposited into GCAC’s account, not Brass’s.89 Thus, they were entrusted to GCAC.
There is a difference between entrusting property to the care of a company and
entrusting property to the president of that company in his individual capacity. See
Rifai, 604 B.R. at 326 (no embezzlement when funds and assets entrusted to
debtor’s company and not the debtor). Thus, there is no embezzlement claim here.

Damages

        Vitol claims that the $10 million debt is nondischargeable. Vitol argues that
GCAC’s consolidated financials in December 2017 and 2018 listed an approximately
$14.9 million debt owed to Vitol. And GCAC’s tax returns listed that debt too. Kuo
testified GCAC owed Vitol about $15 million, consisting of around $3.5 million for
unpaid product, between $5-$8 million for hedging losses, and the rest for related
costs.90 Brass counters that GCAC and Vitol never finally reconciled debts. He also
tried to argue that he understood the Settlement Agreement required him to repay
Vitol if he could.91




88   See Vitol Exs. 12, 18, 19–23.
89   See Vitol Ex. 124 (GCAC bank statements).
90   Sept. 16 Trial Tr., 157:16–19; 160:17–165:4.
91Sept. 16 Trial Tr., 232:3–17. Brass was not credible about repayment of the Settlement Agreement
or his lack of knowledge about basic information on GCAC financials.
                                                    15
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      The best measure of damages come from the financing deals. GCAC’s
financial statements and bank statements support product sales debt. GCAC’s
Consolidated Income Statement for the 12 months ending December 31, 2017 lists
$22,200,697 in sales.92 GCAC made five payments to Vitol or for its benefit totaling
$18,431,603.48.93 Subtracting GCAC’s payments from cost of sales equals
$3,769,093.52.

       Vitol also seeks nondischargeability of debt related to hedging losses, as well
as storage, transportation, and related expenses. There are emails confirming that
GCAC and Brass knew Vitol was hedging deals, but there is no firm evidence about
who pays for losses on hedges. Vitol chose the type of hedge and the terms of the
hedge.94 And there is not enough evidence about how Vitol calculated hedging
losses. There is also a lack of firm evidence about the calculation of transportation
and related expenses. These debts were covered by Vitol and therefore differ from
sale proceeds Brass transferred to himself.

          Thus, $3,769,093.52 is the nondischargeable debt owed to Vitol.

Attorney’s Fees

       Under the “American Rule,” each party pays its own attorney’s fees arising
out of litigation absent specific authority granted under a statute or a fee shifting
provision in a contract. See Alyeska Pipeline Serv. Co. v. Wilderness Soc’y, 421 U.S.
240, 247 (1975). The Bankruptcy Code does not provide creditors a claim for
attorneys’ fees in nondischargeability cases. But the Fifth Circuit has held that
creditors may recover attorney’s fees if there is a contractual or statutory right to
fees. Jordan v. Southwest Nat’l Bank (In re Jordan), 927 F.2d 221, 226–27 (5th Cir.
1991) (overruled on other grounds); Luce v. First Equip. Leasing Corp. (In re Luce),
960 F.2d 1277, 1285–86 (5th Cir. 1992).

       Vitol is not entitled to attorney’s fees here. There is no contract or other
evidence of a fee-shifting arrangement about attorney’s fees. There is also no
statutory right. Vitol prevailed on a Section 523(a)(2)(A) claim by establishing
actual fraud using TUFTA badges of fraud as permitted under the Supreme Court
and Fifth Circuit Husky decisions. But using TUFTA factors to establish actual
fraud does not transform Vitol’s nondischargeability action into a full-blown TUFTA
action. Just like Vitol may not seek avoidance or other remedies under separate

92   Vitol Ex. 81-175, at 13.
 Vitol Ex. 124, at Bates Nos. Debtor000060 ($1,690,065.00), Debtor000066 ($107,137.23),
93

Debtor000078 ($4,000,000.00), Debtor000088 ($3,700,000.00), and Debtor000102 ($8,934,401.25).
94   Sept. 16 Trial Tr., 113:14–21.
                                               16
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TUFTA sections, Vitol is also not entitled to seek attorney’s fees under it either.
This case is about the determination of a nondischargeable debt only.

      Thus, for the reasons stated above, it is:

      ORDERED that the debt owed by Brass to Vitol for $3,769,093.52 is
nondischargeable under Section 523(a)(2)(A) and Section 523(a)(6) of the
Bankruptcy Code. No additional award to Vitol for attorney’s fees or pre- or post-
judgment interest.



         August 02,
         December 21,2019
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